                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

UNUM LIFE INSURANCE COMPANY OF    )
AMERICA,                          )
                                  )
                     Plaintiff,   )
                                  )                            JUDGMENT IN A
v.                                )                            CIVIL CASE
                                  )                            CASE NO. 5:19-CV-486-D
ESTATE OF BRENDA ARMSTRONG,       )
WELLS FARGO, N.A., BRENDA ESTELLE )
ARMSTRONG REVOCABLE TRUST,        )
BRENDA ESTELLE ARMSTRONG          )
IRREVOCABLE TRUST, INGRID RAHMAN, )
BRADLEE ARMSTRONG, BENJAMIN       )
ARMSTRONG, DEVONTE ARMSTRONG,     )
BEVERLY NORMAN, FRED J. WILLIAMS, )
W. THURBUR ARMSTRONG, DURHAM      )
STRIDERS YOUTH ASSOCIATION, INC., )
JANE DOE, JANE DOE,               )
                                  )
                     Defendants.  )

Decision by Court. This action came before this Court for ruling as follows.


IT IS ORDERED, ADJUDGED, AND DECREED that on April 29, 2020 the court
GRANTED Wells Fargo's motion [D.E. 32] and DISMISSED WITH PREJUDICE all claims
against Wells Fargo.
IT IS FURTHER ORDERED AND DECREED that the Estate of Brenda Armstrong's and Ingrid
Rahman's, as executor of the Estate and individually, Motion for Judgment on the
Pleadings is GRANTED and that the funds deposited with the Clerk of Court by Plaintiff
Unum Life Insurance Company of American on or about May 11, 2020 be disbursed to the
Estate of Brenda Armstrong.


This Judgment Filed and Entered on November 5, 2020, and Copies To:
Philip Todd Gray                                       (via CM/ECF electronic notification)
Dieter Mauch                                           (via CM/ECF electronic notification)
James M. Tatum, Jr.                                    (via CM/ECF electronic notification)
Emma C. Merritt                                        (via CM/ECF electronic notification)




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Nash E. Long, III                           (via CM/ECF electronic notification)


DATE:                                       PETER A. MOORE, JR., CLERK
November 5, 2020                                   (By) /s/ Nicole Sellers
                                                   Deputy Clerk




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